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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
                                                 :
        v.                                       :   Case No. 21-CR-208 (APM)
                                                 :
THOMAS WEBSTER,                                  :
                                                 :
        Defendant.                               :

             GOVERNMENT’S MEMORANDUM IN OPPOSITION TO
         DEFENDANT’S MOTION TO REVOKE OR AMEND MAGISTRATE’S
                    ORDER OF PRE-TRIAL DETENTION

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this memorandum in opposition to defendant

Thomas Webster’s motion to revoke or amend the magistrate’s order of pre-trial detention. Dkt.

24.

       On January 6, 2021, Thomas Webster decided to take the law into his own hands. As a

former U.S. Marine and a retired New York City Police Department Officer, Webster understood

the danger that the officers defending the U.S. Capitol on January 6, 2021 faced as rioters pelted

them with foreign objects, prodded them with sticks, maced them with bear spray, flattened them

with metal barricades, and harangued them with vile epithets and profanities. And instead of

supporting or, at the very least, not interfering with the officers, Webster violently and

unapologetically unleashed on Metropolitan Police Department (MPD) Officer N.R. Without

provocation or justification, defendant physically assaulted Officer N.R. -- first with a metal

flagpole, and then with his bare hands. He struck his metal flagpole at Officer N.R., tackled him

to the ground, clutched his gas mask, and caused him to stop breathing for ten seconds, all because

defendant believed that Officer N.R. had acted uncharitably toward some rioters. As described in


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greater detail below, given this offense conduct and the proclivity for violence that it reflects, there

are no conditions that can reasonably assure the safety of any person and the community were

defendant to be released.

                                        FACTUAL BACKGROUND

         Defendant came to Washington, D.C. on January 5, 2021 armed and ready for battle. The

day before his arrival, he downloaded a map of downtown D.C, which had marked certain tourist

attractions, including the Capitol Building.




                                                      Figure 1
Defendant drove nearly five hours through the night, arriving in D.C. on January 5 at

approximately 4:30 a.m. Defendant packed with him a Smith & Wesson 640 5-shot revolver, 1 his

U.S. Marine-issued rucksack, his NYPD-issued bulletproof vest, and some military meals ready-

to-eat (“MREs”).


1
  While defendant claims to have left his firearm in his hotel room on January 6, see Def. Exh. E, Dkt. 24-5, at 29, he
also could have easily concealed the firearm under his jacket or pant leg. Moreover, despite the government having
raised concerns about the lawfulness of defendant carrying a firearm into Washington D.C. during defendant’s initial
appearance on February 23, 2021, defendant has still proffered no evidence to suggest that he possessed an active
permit under the Law Enforcement Officers Safety Act (HR-218) to possess and carry a firearm in all fifty states. See
Def. Exh. A, Dkt. 24-1, at 27.
                                                          2
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                                            Figure 2




                                            Figure 3
He attended the rally that evening at Freedom Plaza, and the following day, he put on his NYPD-

issued bulletproof vest and walked to the rally at the Ellipse. There, he took several pictures of

himself standing in front of the Washington Monument, holding a red U.S. Marine Corps flag.




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                                                  Figure 4 2
        After attending the rally at the Ellipse, defendant made his way to the lower west terrace

of the U.S. Capitol building. In his motion, defendant repeatedly, and almost inconceivably,

describes the rioters at the lower west terrace as “peaceful.” Dkt. 24 ¶¶ 11, 14, 29, 30. But open

source footage shows that the lower west plaza was nothing short of a war zone on January 6. See,

e.g., Remember45, “Full video of initial breach and storming of Capitol grounds,” YouTube,

available at https://www.youtube.com/watch?v=wUmomtBJg0U (last accessed June 24, 2021)

(~30:35 - 1:25:40).

        As shown in this YouTube video, for over an hour, rioters hurled heavy objects at the

police, emptied canisters of pepper spray into their often unshielded eyes, and spewed vitriolic,

hateful, and profane language toward them The photographs below are intended to illustrate the

chaotic scene at the lower west terrace on January 6. Figure 7 depicts a recently discovered

photograph of the defendant, identified in the bottom right corner with a red arrow, leading the


2
  Defendant tried to delete this photograph, as well as six other photographs of himself posing in front of the
Washington Monument, but law enforcement managed to recover the photographs during a forensic search of
defendant’s cell phone.
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charge past the police line.




                                    Figure 5




                                    Figure 6




                                       5
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                                             Figure 7
       Officer N.R., a Metropolitan Police Department officer, was dispatched to the lower west

terrace on January 6 to assist U.S. Capitol Police in protecting the Capitol building. Officer N.R.

was stationed behind a metal barricade just north of the media tower. Officer N.R.’s orders were

to hold the police perimeter, and to keep rioters away from, and off, the metal barricade. For that

reason, he is seen on his bodyworn camera (BWC) footage pushing away several rioters who

approach and, in some instances, try to touch and/or push through the barricade. See Def. Exh. H

at 14:18:05-14:18:22; 14:18:53-14:19:07; 14:20:23-14:21:0.

       At approximately 2:28 p.m., defendant emerges from the back of the crowd holding his red

Marine Corps flag and approaches Officer N.R. As he walks toward the barricade, defendant

points his finger at Officer N.R. and yells, “You fucking piece of shit. You fucking commie

motherfuckers, man. You wanna attack Americans? No, fuck that. Fucking Marines? You

commie fuck. Come on, take your shit off. Take your shit off. You communist motherfucker.”

Def. Exh. H at 14:28:21-14:28:36.

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                                            Figure 8
        As defendant keeps yelling, Officer N.R. tries to push him away from the metal barricade.

Contrary to defendant’s assertion in his motion, Officer N.R. never punched defendant in the face.

See Dkt. 24 ¶ 16. Rather, the BWC footage shows that Officer N.R. merely pushed the right side

of defendant’s chest, without ever making contact with defendant’s face.




                                            Figure 9




                                                7
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                                                         Figure 10




                                                         Figure 11
In response, defendant shoves the metal barricade open. 3 He then draws his flagpole behind his

head and forcefully swings downward, striking the metal barricade directly in front of Officer N.R.




3
  It is at this time that defendant appears to lose the top half of his flag. While the BWC footage is not entirely clear,
it appears that the officer standing to the right of Officer N.R. tries to grab hold of the top part of the flag, but defendant
quickly lifts the flagpole away and swings it downward, causing the top half of the flag to fall off. As depicted in
Figure 15, below, another rioter ultimately recovers the top half of defendant’s flag.
                                                              8
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                                           Figure 12




                                           Figure 13




                                           Figure 14
       Defendant then attempts to lunge toward Officer N.R. with the flagpole, but Officer N.R.

is able to wrest the pole away from defendant’s clutch before falling backward.




                                                9
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                                           Figure 15




                                           Figure 16
       Officer N.R. eventually stands up and retreats behind the metal barricade. Defendant,

visibly enraged, begins charging toward Officer N.R. and tackles him to the ground. Defendant

and Officer N.R. wrestle on the ground for approximately ten seconds before another rioter comes

to Officer N.R.’s rescue.




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                           Figure 17




                           Figure 18




                           Figure 19


                              11
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       In open source photos of the assault, defendant is seen reaching for Officer N.R.’s gas mask

and helmet. During an interview with law enforcement on February 17, 2021, Officer N.R.

reported that he could not breathe for those ten seconds of the assault because he was being choked

by his chinstrap.




                                            Figure 20




                                            Figure 21
       After violently assaulting Officer N.R., defendant is next seen emerging from behind a

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police barricade with his hands raised. See Def. Exh. J at 00:12-00:22.




                                           Figure 22




                                           Figure 23
       Defendant is last seen in a YouTube video calling for reinforcements: “Send more

patriots. We need some help.” See Def. Exh. K at 00:30-00:32




                                           Figure 24
                                               13
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       Upon searching defendant’s cell phone, the government found three photographs (as well

as three videos) taken by defendant outside the Capitol. Defendant tried to delete these videos

and photographs, but law enforcement was able to recover them during a forensic search of

defendant’s cell phone.




                                            Figure 25




                                            Figure 26




                                               14
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                                            Figure 27
       That evening, at approximately 12:40 a.m., defendant sent a text to a friend stating: “All

is well, in my room[.] Never forget this date.”

                                  PROCEDURAL HISTORY

       More than seven weeks after violently assaulting Officer N.R., and more than three weeks

after the FBI posted a photo of defendant on its “Be On the Lookout” webpage, defendant’s

attorney contacted the FBI’s Hudson Valley office on February 16, 2021 to discuss defendant’s

potential self-surrender. On February 19, 2021, a criminal complaint was filed in the United States

District Court for the District of Columbia charging defendant with assault of certain officers with

a deadly or dangerous weapon, in violation of 18 U.S.C. § 111(a)(1), (b); obstruction of law

enforcement during civil disorder, in violation of 18 U.S.C. § 231(a)(3); knowingly entering or

remaining on restricted grounds without lawful authority with a deadly or dangerous weapon, in

violation of 18 U.S.C. § 1752(a)(2), (b)(1)(A); engaging in physical violence on restricted grounds


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with a deadly or dangerous weapon, in violation of 18 U.S.C. § 1752(a)(4), (b)(1)(A); disorderly

conduct on Capitol grounds, in violation of 40 U.S.C. § 5104(e)(2)(D); and act of physical violence

within the Capitol grounds, in violation of 40 U.S.C. § 5104(e)(2)(F). Defendant self-surrendered

to FBI agents in New York on February 22, 2021. At the time of his self-surrender, defendant

consented to an interview with FBI agents and his attorney. See Draft Transcript of Defendant’s

FBI Interview, Def. Exh. E, Dkt. 24-5.

        An initial appearance was held on February 23, 2021 before Magistrate Judge Andrew E.

Krause in the Southern District of New York. The government moved for detention under 18

U.S.C. § 3142(f)(1)(A) because defendant is charged with a crime of violence -- namely, assault

of a law enforcement officer with a deadly or dangerous weapon, in violation of 18 U.S.C.

§ 111(a)(1), (b). See United States v. Quaglin, Case No. 21-3028, at *2 (D.C. Cir. June 24, 2021)

(per curiam) (unpublished) (holding that § 111(b) is “categorically a crime of violence”); see also

United States v. Sabol, Case No. 21-cr-35 (EGS), 2021 WL 1405945, at *7 (D.D.C. Apr. 14, 2021)

(holding that using a deadly or dangerous weapon while assaulting an MPD officer assisting a

federal officer is a crime of violence). In support of its request for detention, the government

proffered a 56-second clip from Officer N.R.’s BWC footage documenting the entirety of the

assault, as well as the YouTube video of defendant saying into the camera: “Send more patriots.

We need some help.” See Def. Exh. K.

        Despite finding it to be a “difficult case,” Def. Exh. A, Dkt. 24-1, at 43, 4 Magistrate Judge

Krause agreed with the government that no condition or combination of conditions could

reasonably assure the safety of any person and the community were defendant to be released.

Magistrate Judge Krause explained that “the conduct on the video shock[s] the conscience . . .


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 All docket citations are referenced by the pagination assigned by the Court’s Case Management/Electronic Case
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precisely because of Mr. Webster’s proud and impressive track record as a public servant.” Id.

The court also summarized its observations from the BWC footage:

               [W]hat we see in this video is a person who flat out attacks a law
               enforcement officer verbally, which is not a crime, but then with a
               metal pole that he swings repeatedly at the officer, hits the metal
               barricade in front of the officer multiple times to the point where in
               the video that pole is bent beyond recognition. Now I don’t know
               how flimsy or sturdy the pole was, but it’s a pole, and it doesn’t
               resemble a flag pole by the time Mr. Webster is done swinging it
               and contacting whatever it was he contacted.

               And then when he is disarmed of the pole, he doesn’t take a step
               back. The barricade opens up, and he charges through it at the
               officer, and they’re wrestling on the ground. . . .

Id. at 44.

        Magistrate Judge Krause then carefully analyzed each factor under 18 U.S.C. § 3142(g).

With respect to the nature and the circumstances of the offense, the court found that this factor

“strongly support[s] detention”: “We’re talking about an assault on a law enforcement officer first

by means of a weapon, later by means of a physical confrontation with fists. That is a significant,

significant violent act that is extremely problematic in a civilized society.” Id. at 51. The court

further determined that the weight of the evidence against defendant is “extremely strong.” Id. at

52.

        With respect to defendant’s history and circumstances, the court found that this factor

weighs in favor of release given the defendant’s deep ties to his community, his employment, and

his history as a public servant. Id. Ultimately, however, the court concluded that the defendant

must be detained because the nature and seriousness of the danger to any person in the community

-- coupled with the weight of the evidence and nature and circumstances of the offense -- weighed

in favor of detention. As the court concluded,

               [T]he circumstances that led to Mr. Webster’s attack on the law

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                enforcement officer that we see in this video could certainly repeat
                themselves. There were obviously some unusual circumstances and
                other outside factors on January 6, 2021, in Washington, D.C., but
                the undercurrent of political hostility and other supporting factors
                that led a person who has led an exemplary life, had an exemplary
                career of public service to act in this extraordinary way continue to
                be part of our society, and will continue to be part of our society for
                the foreseeable future.

Id. at 52-53. Finally, the court noted that it did not perceive defendant to pose a risk of flight. Id.

at 53.

         On March 12, 2021, a federal grand jury in the District of Columbia returned an Indictment

charging defendant with the aforementioned five felonies and two misdemeanors.                 Dkt. 6.

Defendant was arraigned on April 9, 2021. He filed the instant motion to revoke the magistrate

judge’s pre-trial detention order on June 17, 2021. Dkt. 24. A bond hearing is scheduled for June

29, 2021.

                                       APPLICABLE LAW

         Pursuant to 18 U.S.C. § 3145(b), if a magistrate orders a defendant detained, the defendant

“may file, with the court having original jurisdiction over the offense, a motion for revocation or

amendment of the order.” Although the D.C. Circuit has not squarely decided the issue of what

standard of review a district court should apply to review of a magistrate’s detention order, see

United States v. Munchel, 991 F.3d 1273, 1280 (D.C. Cir. 2021), courts in this district have held,

in line with courts across the country, that such detention decisions are reviewed de novo. See

United States v. Hunt, 240 F. Supp. 3d 128, 132-33 (D.D.C. 2017) (referencing cases from the

Second, Third, Fourth, Fifth, Sixth, Seventh, Eighth, Ninth, Tenth, and Eleven Circuits that support

this proposition); see also United States v. Chrestman, Case No. 21-mj-218 (ZMF) (BAH), 2021

WL 765662, at *5-6 (D.D.C. Feb. 26, 2021).

         As a threshold matter, defendant is eligible for pretrial detention pursuant to 18 U.S.C.

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§ 3142(f)(1)(A) because he is charged in Count One of the Indictment with a “crime of violence”

-- namely, 18 U.S.C. § 111(a)(1) and (b). See Dkt. 6 (Indictment); Quaglin¸ Case No. 21-3028, at

*2; Sabol, 2021 WL 1405945, at *7; United States v. Klein, Case No. 21-cr-236 (JDB), 2021 WL

1377128, at *4-7 (D.D.C. Apr. 12, 2021).

        Because defendant is eligible for pretrial detention pursuant to § 3142(f)(1)(A), the Court

must determine whether any “condition or combination of conditions will reasonably assure the

appearance of the person as required and the safety of any other person and the community.” 18

U.S.C. § 3142(e)(1). With respect to the danger defendant presents to the safety of any other

person and the community, the Court “must identify an articulable threat posed by the defendant

to an individual or the community,” though “[t]he threat need not be of physical violence, and may

extend to ‘non-physical harms such as corrupting a union.’” Munchel, 991 F.3d at 1283 (quoting

United States v. King, 849 F.2d 485, 487 n.2 (11th Cir. 1998)). “The threat must also be considered

in context,” and “[t]he inquiry is factbound.” Id. (citing United States v. Tortora, 922 F.2d 880,

888 (1st Cir. 1990)).

        In determining whether defendant presents a flight risk and/or danger to the community,

the Court considers the 18 U.S.C. § 3142(g) factors, including: (1) “the nature and circumstances

of the offense charged”; (2) “the weight of the evidence”; (3) “the history and characteristics” of

the defendant and (4) “the nature and seriousness of the danger to any person or the community

that would be posed by the [defendant’s] release.” 18 U.S.C. § 3142(g).

        The government is not arguing that defendant poses a risk of flight.

                                           ANALYSIS

   I.   The Nature and Circumstances of the Offense Favor Detention.

        The gravity of defendant’s offenses is undeniable, and the nature and circumstances of the


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offenses weigh in favor of his continued pretrial detention. As noted and reaffirmed today by the

D.C. Circuit, defendants, like Webster, who “actually assaulted police officers and broke through

windows, doors, and barricades” are in “a different category of dangerousness than those who

cheered on the violence or entered the Capitol after others cleared the way.” Quaglin, Case No.

21-3028, at *2-3 (citing Munchel, 991 F.3d at 1284). Here, the footage of defendant violently

assaulting Officer N.R. shocks the conscience and cements defendant in the category of January 6

rioters for whom pre-trial detention is plainly appropriate and warranted.

       There is no discernible reason why defendant chose to target Officer N.R. on January 6.

Contrary to defendant’s assertion that his assault of Officer N.R. was a “spur-of-the-moment

response to what he perceived as [Officer N.R.’s] misuse of force.” Dkt. 24 ¶ 41, there is no

indication that defendant was present for, much less witnessed, Officer N.R.’s interactions with

other rioters. For example, defendant and his flag are not visible when Officer N.R. pushes a

female protester who tries to pass through the barricade. Id. ¶ 11; Def. Exh. H at 14:18:05-

14:18:22. Nor is defendant visible when Officer N.R. pushes away a male rioter in a maroon

sweatshirt who keeps reaching toward the barricade. Id. ¶ 14; Def. Exh. H at 14:18:53-14:19:07;

14:20:23-14:21:00. Defendant’s violent assault of Officer N.R. was unprovoked. There is nothing

in the BWC footage that shows defendant anywhere near Officer N.R. until approximately 2:28

p.m., when defendant emerges from the back of the crowd shouting, “You fucking piece of shit.

You fucking commie motherfuckers, man.” See Def. Exh. H at 14:28:21.

       Even if defendant had personally witnessed Officer N.R.’s actions that day -- which he did

not -- nothing that Officer N.R. did could justify the violence and rage that defendant exhibited

toward him. The BWC footage shows that Officer N.R. was simply doing his job of keeping

rioters away from, and off, the metal barricade. He pushes away the female rioter because she,


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unlike others, repeatedly ignores Officer N.R.’s orders to get back and instead tries to push the

metal gate open. Def. Exh. H at 14:18:07.




                                            Figure 28
Similarly, Officer N.R. pushes the rioter in the maroon sweatshirt away only after repeatedly

instructing the man to “go home.” Def. Exh. H at 14:18:49-14:19:06.




                                            Figure 29




                                            Figure 30

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         Compared to other January 6 rioters who remain detained, defendant’s offense conduct

was significantly more violent and disturbing. For example, unlike Jeffrey Sabol, who held a baton

to the back of an officer’s neck before helping rioters drag the officer face-first down the Capitol

steps, defendant repeatedly attempted to inflict injury with a metal flagpole before tackling the

officer to the ground and tearing away his gas mask and ballistic helmet, causing the officer to

suffocate and gasp for air. Cf. Sabol, 2021 WL 1405945, at *2. Moreover, as an instigator,

defendant cannot, like Sabol, claim that he was somehow spurred on by other members of the

crowd. The BWC footage shows that prior to defendant’s assault of Officer N.R., there were

hardly any skirmishes between officers and rioters at that portion of the police barricade. It’s clear,

then, that defendant riled up the rioters, not the other way around.

         In assessing the nature and circumstances of the offense charged, Chief Judge Howell has

set forth a number of helpful considerations to differentiate the severity of the conduct of the

hundreds of defendants connected to the events of January 6. See Chrestman, 2021 WL 765662,

at *7. These considerations include whether a defendant: (1) “has been charged with felony or

misdemeanor offenses;” (2) “engaged in prior planning before arriving at the Capitol;” (3) carried

or used a dangerous weapon during the riot; (4) “coordinat[ed] with other participants before,

during, or after the riot;” or (5) “assumed either a formal or a de facto leadership role in the assault

by encouraging other rioters’ misconduct;” and (6) the nature of “the defendant’s words and

movements during the riot,” including whether he “damage[d] federal property,” “threatened or

confronted federal officials or law enforcement, or otherwise promoted or celebrated efforts to

disrupt the certification of the electoral vote count during the riot.” Id. at *7-8.

         Five of the six Chrestman factors support a finding that defendant’s offense conduct is

more egregious than many of the individuals who participated in the January 6 insurrection.


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        First, defendant has been charged with five felonies. The most serious felony charge

against defendant -- assault of a law enforcement officer with a deadly or dangerous weapon --

carries a maximum term of twenty years’ imprisonment. 18 U.S.C. § 111(b).

        Second, defendant engaged in prior planning before arriving at the Capitol.                He

downloaded walking maps (Figure 1), he packed a Marine rucksack and MREs (Figure 2), he

brought a revolver to the District (Def. Exh. E, Dkt. 24-5, at 29), and he wore his NYPD-issued

bulletproof vest. It is no coincidence that defendant was eager to attack Officer N.R. when one

considers that he had mentally and physically prepared himself for armed battle before ever

stepping foot on the Capitol grounds.

        Third, defendant converted his flagpole into a dangerous weapon during the riot, which

he swung repeatedly at Officer N.R. and others.

       Fourth, while there is no evidence to suggest that defendant coordinated with other

participants before, after, or during the riot, he did assume a de facto leadership role in the breach

of the police barricade and in the ensuing assault of law enforcement. Prior to defendant’s

unprovoked assault, there had been only minor skirmishes at the barricade. It was not until

defendant burst out from the crowd and began striking the barricade that chaos ensued, the rioters

broke through the barricade, and the officers were forced to retreat. Therefore, defendant assumed

a de facto leadership role by initiating the assault against Officer N.R. and by enabling hundreds

of other protesters to advance past the police barricade and attack law enforcement.

       Finally, the nature of defendant’s words and movements during the riot are particularly

troublesome and strongly favor detention. Before defendant ever comes into view in the BWC

footage, he can be heard calling Officer N.R. a “fucking piece of shit” and a “commie

motherfucker.” Defendant was also the initial aggressor. He instigated the assault against Officer


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N.R., without provocation or encouragement from the crowd. He influenced others, by word and

deed, to storm past the police barricade and to inflict violence on law enforcement officers. As

defendant progressed further toward the Capitol, he continued to flout police orders by going

behind the police line. See Def. Exh. J at 00:12-00:22. His comments on the YouTube video

calling for more “patriots,” coupled with his text that evening to “Never forget this date,” reflect a

deep sense of pride for his actions on January 6.

        In his motion, defendant makes several arguments in an effort to minimize the seriousness

of his conduct on January 6. First, he contends that his hollowed aluminum flagpole did not

constitute a “dangerous weapon” in part because it was taken away from him before he could ever

use it to physically strike Officer N.R. See Dkt. 24 ¶¶ 31, 37. This argument betrays a fundamental

misunderstanding of the elements of assault and, specifically, what it means to “forcibly assault”

a law enforcement officer under 18 U.S.C. § 111(a) and (b).

        To violate § 111(a), a defendant must: “(1) forcibly; (2) assault, resist, oppose, impede,

intimidate, or interfere with; (3) a designated federal officer; 5 (4) while engaged in or on account

of the performance of official duties. In addition, the defendant must have: (5) the intent to do the

acts specified in the subsection.” United States v. Arrington, 309 F.3d 40, 44 (D.C. Cir. 2002)

(internal quotation marks omitted). To violate § 111(b), a defendant must, in addition to the

aforementioned elements: “(1) use a deadly or dangerous weapon; (2) in the commission of any of

the acts described in the prior subsection . . . [and] (3) the defendant must use the weapon

intentionally.” Id.

        As the D.C. Circuit has explained, assault need not involve actual physical contact. Rather,



5
 Defendant does not dispute that Officer N.R., an MPD officer, was assisting federal law enforcement officers --
namely, the United States Capitol Police -- in the performance of their official duties. See 18 U.S.C. §§ 111(a) and
1114.
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a defendant may violate § 111(b) by attempting to cause or purposely or knowingly causing bodily

injury to a designated officer with a deadly or dangerous weapon, or by using a deadly or dangerous

weapon with the purpose of causing the designated officer to fear imminent serious bodily injury.

See United States v. Duran, 96 F.3d 1495, 1509-11 (D.C. Cir. 1996). Here, defendant used the

metal flagpole to cause Officer N.R. to fear imminent serious bodily injury by vigorously striking

it at the gate directly in front of Officer N.R. Although defendant did not make physical contact

with Officer N.R. until tackling him to the ground, defendant still forcibly assaulted Officer N.R.

with the metal flagpole.

       Defendant also attempts to downplay the dangerousness of his metal flagpole because it

did not contain any type of “spear, sharpened point, or finial capable of penetrating an officer’s

helmet, face shield, or body armor.” See Dkt. 24 ¶ 31. This argument is unavailing. While

§ 111(b) does not include a definition for “deadly or dangerous weapon,” multiple courts of appeal

have defined “dangerous weapon” as an object that is either “inherently dangerous or is used in a

way that is likely to endanger life or inflict great bodily harm.” United States v. Chansley, Case

No. 21-cr-3 (RCL), 2021 WL 861079, at *7 (D.D.C. Mar. 8, 2021) (collecting cases). Here, the

flagpole was wielded in a way that was likely to endanger life and inflict great bodily harm.

Indeed, one need only look at defendant’s facial expression and listen to the sound of the flagpole

hitting the metal barricade to appreciate the degree of force with which defendant wielded the

metal flagpole. See Def. Exh. H at 14:28:38 - 14:28:41.




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                                            Figure 31
In fact, later photographs show that defendant actually dented the flagpole and, as Magistrate Judge

Krause stated, it didn’t “resemble a flag pole by the time Mr. Webster [was] done swinging it.”

Def. Exh. A, Dkt. 24-1, at 44.




                                            Figure 32
Courts in this district have found skateboards and police batons to be “deadly or dangerous

weapons” for purposes of § 111(b). See, e.g., United States v. Owens, Case No. 21-cr-286 (BAH),

2021 WL 2188144, at *7 n.5 (D.D.C. May 28, 2021) (skateboard); Sabol, 2021 WL 1405945, at

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*11 (police baton). Here, irrespective of whether the flag pole could penetrate Officer N.R.’s

helmet and body armor, it was plainly capable of inflicting great bodily harm and therefore

qualifies as a dangerous weapon for purposes of § 111(b).

II.    The Weight of the Evidence Favors Detention.

       The evidence against defendant is overwhelming and incontrovertible. The entire assault

was captured on Officer N.R.’s bodyworn camera and is well-documented in open source media.

Moreover, defendant has failed to present evidence to corroborate his self-serving statements that

he was trying to “protect the innocent” or avenge the perceived misuse of force by police

officers. Dkt. 24 ¶ 15. Rather, the BWC footage suggests that defendant did not witness any

interactions between Officer N.R. and the other rioters before deciding to attack Officer N.R.

with a deadly and dangerous weapon.

       Furthermore, the government has obtained additional incriminating evidence from

defendant’s cell phone, including ten photographs that defendant attempted to delete. The

photographs from defendant’s phone show that he came to Washington D.C. prepared for armed

combat. Not only did defendant travel across state lines with his firearm, but he also brought

with him MREs and a Marine rucksack (which is by no means a lightweight or convenient bag

for travelling). Finally, defendant sent a text message to a friend at 12:54 a.m. on January 7,

stating: “All is well, in my room[.] Never forget this date.” The evidence from defendant’s cell

phone further corroborates defendant’s identity and provides additional proof regarding his intent

and motive in traveling to Washington D.C., his lack of remorse regarding his conduct on

January 6, and his consciousness of guilt.




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III.   The History and Characteristics of the Defendant Favor Detention.

       As a former U.S. Marine and a retired NYPD officer, defendant should have known

better. While defendant deserves recognition for his commendable service to our country, his

service also comes with higher ethical standards and expectations. As a U.S. Marine, he swore

an oath to support and defend the Constitution. Yet his actions on January 6 posed one of the

greatest threats to the Constitution that our nation has ever endured. If, as defendant claims, his

instinct as a former member of law enforcement was to “protect the innocent,” Dkt. 24 ¶ 15, then

he should have been at the front lines helping to push the rioters away from the police barricade.

Instead, however, he was one of the first rioters to breach the barricade and to attack an innocent

member of law enforcement.

       In addition, even if this Court were to credit defendant’s assertion that he was somehow

defending rioters from Officer N.R., this argument only underscores defendant’s willingness to

act as a vigilante and to take the law into his own hands. Indeed, the open source video of

defendant walking out from behind the police line is further proof that defendant believes he is

above the law; the same rules that apply to all rioters about staying behind the police line do not

apply to Thomas Webster. See Def. Exh. J.

       Finally, rather than accept responsibility for his unlawful conduct, defendant to this day

continues to blame Officer N.R. by leveling baseless accusations of police misconduct. See, e.g.,

United States v. Cua, Case No. 21-cr-107 (RDM), 2021 WL 918255, at *4 (D.D.C. Mar. 10,

2021) (noting that while “contrition is not a defense, it has some bearing on the character of the

defendant”). His inability to accept responsibility for his actions speaks volumes about his

willingness to engage in similar conduct in the future. Defendant has not accepted full

responsibility for his actions, and he still fails to appreciate the wrongfulness of his conduct on


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January 6.

       Thus, notwithstanding defendant’s decades of public service, his ties to his community

and his lack of criminal history, this factor still weighs in favor of detention.

IV.    The Nature and Seriousness of the Danger Posed by Defendant’s Release Favor
       Detention.

       The same considerations that inform analysis of the nature and circumstances of the

charged offenses from the January 6 assault on the Capitol are probative to the Court’s

consideration of the nature and seriousness of the danger posed by defendant’s release.

Chrestman, 2021 WL 765662, at *15. Defendant’s conduct on January 6 evinces a clear disregard

for the safety of law enforcement, a propensity toward violence, and a willingness to take the law

into his own hands. Whatever police misconduct defendant may or may not have witnessed on

January 6, his response was disproportionate and unjustifiable, especially for a former U.S. Marine

and NYPD officer, and reflects an inability and unwillingness to conform his behavior to the law.

       While the circumstances underlying the January 6 insurrection were in some ways unique,

the presence of the protesters at the U.S. Capitol was not necessary for defendant to cause danger

to the community. Put differently, defendant was motivated to act violently not solely by the

presence of the mob or President Trump’s encouragement, but by his belief that, as a veteran and

retired member of law enforcement, he was entitled to take matters into his own hands and to put

law enforcement officers in their place. There is no indication, and defendant does not argue, that

he was provoked by the political climate of January 6. Rather he maintains that he was fueled by

his desire to defend “innocent” protesters from police misconduct. Dkt. 24 ¶ 15. If defendant is

willing to violently assault and suffocate a law enforcement officer to defend total strangers from

conduct that he did not personally observe or witness, there is no saying what other violence he is

capable of inflicting. Overall, defendant has proven that he is unable to control his rage and to

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conform his behavior to the law, and that he presents an ongoing articulable threat to the

community.

                                        CONCLUSION

        This Court should deny defendant’s motion to revoke or amend the magistrate judge’s pre-

trial detention order.

                                                Respectfully submitted,
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